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 12
      Attorneys for Jonathan D. King as Chapter 7 Trustee
 13                          UNITED STATES BANKRUPTCY COURT
 14                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
 15
      In re:                                            Lead Case No.: 2:17-bk-21386-SK
 16
      ZETTA JET USA, INC., a California                 Chapter 7
 17   corporation,                                      Jointly Administered With:
 18                Debtor.                              Case No.: 2:17-bk-21387-SK
      In re:
 19
      ZETTA JET PTE, LTD., a Singaporean                Adv. Proc. No. 2:19-ap-1147-SK
 20   corporation,                                      ORDER DENYING TRUSTEE’S
 21                Debtor.                              APPLICATION TO
                                                        SEAL EXHIBITS TO TRUSTEE’S
 22   JONATHAN D. KING, solely in his capacity          NOTICE OF APPEAL
      as Chapter 7 Trustee of Zetta Jet USA, Inc. and
 23   Zetta Jet PTE, Ltd.,                              [Relates to Dkt. Nos. 382, 383]
 24            Plaintiff,
      v.                                                Hearing:
 25
      CAVIC AVIATION LEASING (IRELAND)                  Date: N/A
 26                                                     Time: N/A
      22 CO. DESIGNATED ACTIVITY                        Place: Courtroom 1575
 27   COMPANY; BOMBARDIER AEROSPACE                            255 East Temple Street
      CORPORATION,                                             Los Angeles, CA 90012
 28            Defendants.


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  1           The Court having reviewed the Application (the “Application”) of Jonathan D.

  2   King, solely in his capacity as Chapter 7 Trustee (the “Trustee”) of Zetta Jet USA, Inc. and
  3
      Zetta Jet PTE, Ltd., the debtors (the “Debtors” or, collectively, “Zetta”) in the above-
  4
      captioned bankruptcy cases, for entry of an order authorizing the Trustee to file under seal
  5
      Exhibits F, G, L, and N to the Trustee’s Notice of Appeal (the “Exhibits”) [Dkt. 382], in the
  6
      above captioned adversary proceeding, and any responses thereto.
  7

  8           IT IS HEREBY ORDERED that the Application is DENIED. See Fed. R. Bankr.

  9   P. 8009(f) (providing that “a party must file a motion with the court where the appeal is
 10   pending to accept [a] document under seal. If the motion is granted, the movant must notify
 11
      the bankruptcy court of the ruling . . . .”).
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 23 Date: March 30, 2022

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